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     Attorney for Defendant
7    DONALD M. PARKER
8                                IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12

13   UNITED STATES OF AMERICA,                        Case No.: 2:11-cr-00511-03 WBS
14                  Plaintiff,
15
     vs.                                              STIPULATION AND [PROPOSED] ORDER
                                                      RESETTING BRIEFING SCHEDULE FOR
16                                                    DEFENDANT DONALD M. PARKER
     DONALD M. PARKER,
17
                    Defendant.
18                                                    Hon. William B. Shubb
19

20

21                                            STIPULATION

22                  Plaintiff, Antitrust Division, United States Department of Justice, by and through

23   its counsel, Anna T. Pletcher, and defendant Donald M. Parker, by and through his attorney of
24
     record, Hayes H. Gable III, agree and stipulate to vacate the existing dates for the filing of a
25
     reply brief, having previously joined co-defendant Katakis’s second amended motion for new
26
     trial, filed February 3, 2016, in the above-entitled case, and the hearing on same, and reset the
27

28                                                     1
             Case 2:11-cr-00511-WBS Document 465 Filed 02/24/16 Page 2 of 2


1    briefing schedule adopted by the Court for Katakis (ECF no. 454) – United States opposition to
2
     motion on March 1, 2016 and Parker’s reply brief due on March 15, 2016. The current hearing
3
     date of March 14, 2016 would be vacated.
4
                   Accordingly, the parties request the Court to adopt this stipulation.
5

6                  Dated: February 23, 2016

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8
                                                     /s/Hayes H. Gable III
9                                                    HAYES H. GABLE III
                                                     Attorney for Defendant
10                                                   DONALD M. PARKER
11

12
                                                     /s/Hayes H. Gable III for________________
13                                                     ANNA T. PLETCHER
                                                       Attorney for Plaintiff
14
                                                       ANTITRUST DIVISION OF THE
15                                                     DEPARTMENT OF JUSTICE

16

17
                                                 ORDER
18
            Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
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                   1. The existing dates for the filing of a reply brief and the hearing on the new
21
                       trial motion are VACATED; and,
22                 2. The United States will file its opposition on March 1, 2016 and Parker will
23                     file his reply brief on March 15, 2016.
24

25          IT IS SO ORDERED.
26
            Dated: February 23, 2016
27

28                                                   2
